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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ROBERT (BOB) ROSS,




                                                 LP
                                                 LJ
Vv.                                                       CIVIL ACTION NO. 4:22-CV-343-Y




                                                 La
                                                          (Consolidated w/ 4:22-CV-430-Y)




                                                 LI
ASSOCIATION OF PROFESSIONAL




                                                 LP
FLIGHT ATTENDANTS, et al.,




                                                 LP
                                                 LP
EUGENIO VARGAS,




                                                 SG) LI
V.




                                                 LP
                                                 2
ASSOCIATION OF PROFESSIONAL


                                                 LP
FLIGHT ATTENDANTS, et al.,

            ORDER GRANTING DEFENDANTS’           LP        MOTION FOR SANCTIONS

        Pending before the Court is Defendants’ Motion for Rules 30(d) and 37(b) Sanctions [doc.

205].   Having carefully considered the motion, response, reply, and the evidence presented, the

Court concludes that Defendants’ motion should be GRANTED.

                                  L       LEGAL STANDARD

        A court may    sanction parties and their attorneys under the court’s inherent powers.

Chambers v. NASCO, Inc., 501 U.S. 32, 43-46 (1991).          “Because of their very potency, inherent

powers must be exercised with restraint and discretion.”      Chambers, 501 U.S. at 44.   “In order to

impose sanctions against an attorney under its inherent power, a court must make a specific finding

that the attorney acted in ‘bad faith.”   Chaves v. M/V Medina Star, 47 F.3d 153, 156 (Sth Cir.

1995) (quoting Resolution Trust Corp. v. Bright, 6 F.3d 336, 340 (Sth Cir. 1993)); see Toon vy.

Wackenhut Corrs. Corp., 250 F.3d 950, 952 (Sth Cir. 2001).        “Courts have the authority to make

credibility determinations to resolve whether such misconduct has occurred.”         Howard vy. State

Farm Lloyds, No. H-04-0352, 2005 WL 2600442, at *9 (S.D. Tex. Oct. 13, 2005).              A primary

purpose in imposing sanctions is to deter “frivolous litigation and abusive tactics.” Howard, 2005

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WL 2600442, at *9. The sanction imposed must be the least severe sanction adequate to achieve

the purpose for which it is imposed. Jd.

        Ordinarily, a court should rely on sanctioning power granted by rule or statute, rather than

imposing sanctions under its inherent powers.           Jd. at 50; Allstate Ins, Co. v. Mader, 201 F. App’x.

261, 265 (Sth Cir. 2006). There are several rules in the Federal Rules of Civil Procedure (“FRCP”)

that authorize the issuance of sanctions and are applicable in this case.               As relevant here, FRCP

30(d)(2) states that “[t]he court may impose an appropriate sanction—including the reasonable

expenses and attorney’s fees incurred by any party-—on a person who impedes, delays, or frustrates

the fair examination of the deponent.” Fed. R. Civ. P. 30(d)(2).!            In addition, FRCP 37 “empowers

the district court to compel compliance with Federal discovery procedures through a broad choice

of remedies and penalties.” Griffin v. Aluminum Co. of Am., 564 F.2d 1171, 1172 (Sth Cir. 1977).

Specifically, FRCP 37(b)(2)(A) allows a range of sanctions when a party fails to obey a court order

to provide or permit discovery, including “directing that the matters embraced in the order or other

designated facts be taken as established for purposes of the action, as the prevailing party claims.”

FRCP     37(b)(2)(A)(i).      Further,   the court    pursuant    to FRCP       37(b)(2)(C),    must    “order   the

disobedient party, the attorney advising that party, or both to pay the reasonable expenses,

including attorney’s fees, caused by the failure, unless the failure was substantially justified or

other circumstances made an award of expenses unjust.”               Fed. R. Civ. P. 37(b)(2)(C).

                                              I.       ANALYSIS

        In their motion, Defendants argue that the Court should sanction Plaintiffs or their counsel

under rules 30(d) and 37(b) because of the “disruptive conduct during, and premature termination



          '«“The meaning of ‘appropriate sanction’ in Rule 30(d)(2) has been broadly interpreted as the full scope of
sanctions available under Rule 30(d)(2) is not expressly described in the text of the rule.” Howell v. Avante Servs.,
LLC, No. 12-293, 2013 WL 824715, at *5 (E.D. La. Mar. 6, 2013) (internal quotation marks omitted).
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of,” the Plaintiffs’      depositions      “which   were    properly     noticed    and   ordered   by this     Court.”

(Defendants’ Motion (“Mot.”) at 1). Specifically, Defendants assert that Plaintiffs’ counsel, Kerri

Phillips (“Phillips”), obstructed the deposition questioning of both Plaintiffs by: (1) delaying the

taking of the depositions; (2) delaying the start of Robert ‘Bob’ Ross (“Ross”)’ deposition; (3)

making      numerous   frivolous      objections;      (4) instructing    her clients not     to answer       questions

regarding     documents     they     had   produced;     (5) taking      multiple   unnecessary     breaks;    and   (6)

encouraging her clients to not answer basic questions.                 (Mot. at 2-7).     Additionally, Defendants

allege that Phillips improperly ended Eugenio Vargas (“Vargas”)’ deposition early and made Ross

unavailable despite his deposition not being complete.                (/d.) Asa result, Defendants ask the Court

to impose     the following        sanctions   on Plaintiffs:    (1) bar the submission         of Declarations       or

Affidavits from Ross and Vargas, as well as reliance on previously-filed documents, in connection

with any motion for summary judgment; (2) order the depositions to be completed; and (3) award

Defendants     the costs and fees incurred in connection with the two depositions                         and for the

preparation and filing of this motion.         (/d. at 2, 12).

         In their response, Plaintiffs argue that Defendants’ motion should be denied because it is

Defendants who have acted in bad faith.             (Plaintiffs’ Response (“Resp.”) at 2-18).           Specifically,

Plaintiffs argue that Defendants: (1) have not cooperated in discovery; (2) improperly withheld

documents; (3) have wasted this Court’s time with discovery disputes; and (4) nefariously planned

to “embarrass and humiliate Plaintiffs prior to and during depositions.” (/d.) Plaintiffs’ argument

is best summarized as such: “If Defendants had not planned to cause emotional distress and

attempted to humiliate Plaintiffs, then Defendants may not have caused a time-delay on their own

deposition.    They have only themselves to blame for their bad actions,” (Resp. at 18).
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         While the conduct giving rise to this motion occurred on February                      1-2, 2024, at the

depositions of Ross and Vargas,” the animosity between the parties and their counsel is long

running and well documented.         In fact, Plaintiffs’ counsel Phillips has aptly described this lawsuit

as “a battle between political factions.”        (See, ¢.g., ECF     1943 at 12; see also ECFs       137, 141, and

144). Unfortunately, Phillips’ antipathy for Defendants and their counsel is evident in the litigation

tactics that she has taken in this case.      The Court intended to focus this order only on the conduct

giving rise to this motion; however, because Plaintiffs spent a large portion of their response

attempting to point the finger at Defendants’ counsel, the Court feels that a brief overview is

appropriate.

         A. Previous Discovery Disputes

         As correctly pointed out by Plaintiffs, they have “filed several motions to compel” in this

case.   (Resp. at 3; see also ECF 136, 140, 143; Mem. ECF 110, 134, 139).4 The undersigned held

a hearing over these motions on December 26, 2023.               (ECF 180, 194).      During that hearing, three

of the five motions to compel were denied outright, and the other two were granted in part.                      (See

ECF 194).      Specifically, the Court granted Plaintiffs the following relief: (1) ordered Defendants

to produce—after the parties entered into a confidentiality agreement—limited                         and relevant

documents related to a non-party Nina Martin (ECF 194 at 37~38; 40); and (2) ordered Defendants

to double check that they had already produced all responsive documents from a Julie Hendrick




         * Originally, Ross and Vargas filed their cases separately. However, the cases were consolidated on February
13, 2024, (ECF 204).

       3 Unless otherwise indicated, the ECF numbers come from the consolidated case 4:22-cv-343 and not the
member case 4:22-cv-430, If the ECF number comes from the member case, it will be denoted as (“Mem. ECF”).

        4 Plaintiffs have also filed four motions to quash. Two were withdrawn as moot and two were granted, at the
December 26, 2023 hearing, when the parties’ agreed to reschedule the depositions for February 1-2, 2024.
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(Ud. at 38). Consequently, Plaintiffs’ attempt to paint Defendants in a bad light as a result of their

filing numerous motions to compel is patently unpersuasive.>

         Plaintiffs also point to Defendants’ counsels’ failure to turn over responsive documents

within the thirty-day deadline ordered by the Court.              (Resp. at 4; see ECF 194 at 40).         However,

what Plaintiffs fail to mention is that the delay in production is due to the parties’ inability to enter

into a confidentiality agreement, which appears to be largely a result of Phillips’ actions.                        As

discussed above, the Court ordered that the documents be “produced after a suitable confidentiality

agreement is reached by the parties.”           (ECF 194 at 40).       The Court—wrongly assuming that the

parties could cooperate long enough to reach a basic confidentiality agreement—set a thirty-day

deadline.®   (/d.) On January 26, 2024, one day after the thirty-day deadline, the Court received a

telephone call from Phillips’ office requesting a conference call with the undersigned.                      Phillips’

office indicated to the Court that the parties had reached an impasse regarding the terms of the

confidentiality agreement.       The Court scheduled a courtesy conference call for February 2, 2024.

So that the Court could be prepared to assist, the Court requested that the parties send their

respective confidentiality agreement drafts.             In reviewing those drafts, the Court felt that the

Defendants’ proposed order was standard and appropriate in light of the issues in this case and the

Court’s orders.      In contrast, many of Phillips’ proposed edits were unnecessary, destroyed the

purpose of the agreement, and did not reflect what had been ordered by the Court.

         Unfortunately,     the Court     was   unable to inform        the parties of its advice,        as Phillips

immediately took issue with the undersigned not having the courtesy conference call “on the




          5 The Court agrees with Plaintiffs that resolving the five motions to compel was a great burden on the Court.
(Resp. at 3). However, that burden was largely placed on the Court by Plaintiffs, not Defendants.

         6 Thirty days from the date of the hearing was January 25, 2024.
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record,” and pontificated about the political nature of this suit.” After admonishing Phillips for her

conduct, the Court ended the call.          Subsequently, on February 12, 2024, Phillips sent an email to

the Court indicating that the parties had stil{ not reached a confidentiality agreement and requesting

that the Court offer advice regarding a dispute that counsel was having in entering into an “interim”

confidentiality agreement.        Later that same day, after reviewing the parties’ proposals, the Court

responded providing the requested advice.               The Court is unaware of whether the parties have

entered into any type of confidentiality agreement.

         Nevertheless, as discussed above, the Court ordered that Defendants make their production

after a confidentiality agreement was entered into.                Therefore, Defendants did not improperly

withhold production beyond the thirty-day deadline as claimed by Plaintiffs since the parties did

not enter into a confidentiality agreement, which                 the Court made        a condition precedent to

production.     Accordingly, the Court is unpersuaded by Plaintiffs’ claims that Defendants violated

the   Court’s   Order,    as the delay      in production       appears    to be    largely   a result    of Phillips’

unwillingness to enter into a basic confidentiality agreement.

         Finally, Plaintiffs, multiple times in their response, mention that they previously filed a

motion for sanctions against Defendants.             For example, Plaintiffs state: (1) “[s]uspiciously, .. .

Defendants [] contest[] [that] the motion for summary judgment should not be filed under seal . . .

{as] Defendants never moved to unseal Plaintiff's [sic]               motion for sanctions as that motion was

harmful to Defendants [sic] reputation;” and (2) “Plaintiff’s [sic] Counsel refrained in her Motion

for Sanctions [] from detailing Defendants’ Counsels’ embarrassing display of volatile outbursts

while off-record.”       (Resp. at 5, 8). A review of the record indicates that Defendants’ contention



          7 Just prior to the conference call, Phillips improperly cc’ed the Court on an email discussing the completion
of Ross’ deposition. Despite the Court making it clear that it was not appropriate to including the Court on email
discussions between counsel, Phillips did the same in her February 12, 2024 email, discussed infra, when she sent the
Court a chain of correspondence between the parties.
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that Plaintiffs improperly filed their motion for summary judgment under seal was not unfounded

as the Court not only struck and unfiled Plaintiffs’ motion for summary judgment as improperly

filed under seal, but also, for the same reason, unfiled Plaintiffs’ motion for sanctions.’               (ECF 200,

203).   Therefore, the Court is unpersuaded by Plaintiffs’ argument that Defendants actions have

been nefarious.

        Upon admission, every member of the Texas Bar swears to “discharge [her] duties to [her]

clients to the    best    of [her]   abilities.”    See   New     Lawyer    Oath,   The    State    Bar   of Texas,

https://www.texasbar.com/AM/Template.cfm?Section=Common_Lawyer_Requests| Template

=/CM/ContentDisplay.cfm&ContentID=29062.                   Additionally, every member              swears to do so

“with integrity and civility in dealing and communicating with the court and all parties.”                       Jd.

(emphasis added).        When attorneys fail to uphold their oaths, and all semblance of civility is lost,

the Court    is forced to devote       substantial resources       and time to refereeing petty and often

unnecessary disputes between the parties. It was this very issue that, in 1988, led to the judges for

the United States District Court for the Northern District of Texas sitting en banc to adopt standards

of conduct for attorneys practicing in the district.             See Dondi Properties Corp.           v. Commerce

Savings & Loan Assoc., 121 F.R.D. 284 (N.D. Tex. 1988) (e7 banc). These standards were adopted

to signal the Court’s “strong disapproval of practices that have no place in our system of justice”

and to emphasize “that a lawyer’s conduct, both with respect to the court and to other lawyers,

should at all times be characterized by honesty and fair play.” /d. at 289.               Unfortunately, despite

the long-standing and unambiguous standards set forth in Dondi, parties in the heat of battle often

need to be reminded of what is expected of them.                Consequently, when disputes arise, the Court



         8 On February 5, 2024, Plaintiffs filed duplicative motions for sanctions. (ECFs 195, 197). ECF 197 was
termed as duplicative and ECF 195 was struck and unfiled as it was improperly filed under seal. (ECF 200).
Accordingly, Defendants did not need to take issue with the motion for sanctions being filed under seal as the Court
had already unfiled it.
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often issues a “Dondi Order,” which simply reminds the parties of their obligations under Dondi

and encourages them to attempt to resolve their dispute without court intervention. (See e.g., ECF

116).   More often than not the parties are able to reach an amicable solution, however, there are

some disputes that simply require court intervention.                 In those instances, the Court readily

exercises its role and resolves the dispute.         However, when a dispute cannot be resolved because

an attorney is blatantly disregarding the standards set forth in Dondi, the Court is left with no

option but to take action against such attorney.

        While the undersigned has a long history of giving counsel the benefit of the doubt when

it comes to litigation tactics and conduct, Phillips’ behavior in this case is such that it can only be

described as a blatant disregard for the standards set forth in Dondi and her oath to conduct herself

with integrity and civility. In response to the impasses and discovery disputes that have arisen in

this case, the Court has reminded counsel of their Dondi obligations both orally and in writing on

numerous occations.      (See ECFs 116, 129, 180 and 194 at 18; see also Mem. ECFs 113, 126, and

172).   Despite these repeated reminders, Phillips’ conduct has continued to escalate and, as

discussed infra, appears to have reached its crescendo at the Plaintiffs’ depositions.

        B.   Deposition Conduct

        As set forth above, Defendants argue that Phillips impeded, delayed, and frustrated their

attempts to depose Plaintiffs such that the Court should impose sanctions under Federal Rules of

Civil Procedure 30(d)(2) and 37(b)(2)(A).            (See Mot. at 8-12).        In response, Plaintiffs claim that

only Defendants’ counsel is to blame and asserts that, if the Court should choose to leverage

sanctions,   they   “should   not   be   leveraged     against   Plaintiff[s]    or their counsel,    but   against

Defendants    and their counsel.”        (See generally Resp.;        see also Resp.       at 16).   Because    the

undersigned does not take allegations of attorney malfeasance lightly, the Court will address each

allegation in turn and in detail.
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            1.   Delay in Beginning Ross’ Deposition

       Defendants     argue that Phillips and Ross improperly      delayed the beginning of Ross’

deposition from 10:00 a.m. to 11:17 a.m.     (Mot. at 4). Plaintiffs claim that the delay was caused

by Defendants’ violations of this Court’s order to keep the depositions confidential and were

designed by Defendants to harass and humiliate Ross.      (Resp. at 4, 5, 14). Specifically, Plaintiffs

assert that the delay was proper because: (1) there were other union members, in town on other

business, that were staying at the hotel; (2) there were multiple party representatives in the

deposition room; and (3) the deposition location was changed from being at Defendants’ counsels’

office in the first two subpoenas to being at a hotel in the third subpoena.   (/d.)

       As to the alleged Court order to keep the depositions confidential, Plaintiffs cite to the

following exchange that occurred at the December 26, 2023 hearing before the undersigned as

support for their argument that the presence of party representatives breached such order:

               MS. PHILLIPS: I would also recommend maybe confidentiality be
       addressed on this as well. For their clients and mine. [f they're running for office,
       they —

               THE COURT: I think so. Look. The parties should in this case work out a
       confidentiality agreement that will give protection. And if you're having trouble
       with particular points, involve me. I will help. But I think there's enough out there,
       standard confidentiality agreements, that will give you that protection that both
       sides should be satisfied.

               [DEFENDANTS COUNSEL]: We’re very agreeable to the deposition
       transcripts being confidential until, you know, summary judgment practice.

                 THE COURT: Okay. How about that?

                 MS. PHILLIPS: J absolutely agree. 1 think we -

                 THE COURT: Okay.

               MS. PHILLIPS: -- have absolutely no right to interfere with the election
       process. So, --
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                THE COURT: Build that into the agreement about the depositions being
        -- remaining confidential, but to be used in dispositive motion filings, of course,

(ECF 194 at 52-53 (emphasis added)).

        Contrary to Plaintiffs’ arguments, this exchange reflects that the Court Ordered the parties

to incorporate, in their confidentiality agreement, a provision that the deposition transcripts would

remain confidential until summary judgment practice so as to prevent their use in a political

campaign.   This order by the Court in no way conforms with what Plaintiffs attempt to construe it

as and, as discussed above, the parties—in large part because of Phillips’ actions—did not enter

into a confidentiality agreement prior to the depositions.       Accordingly, the presence of party

representatives in the room and other union members at the hotel did not breach any Court order

and, thus, was not a proper basis to delay.

        Next, Plaintiffs take issue with the number of people in the deposition room, arguing that

it was an intimidation tactic. (Resp. at 5).    Present in the deposition room for Defendants were

three attorneys, the two-named Defendants in this case, and four entity representatives.        (Mot. at

4; Resp. at 5). Fifth Circuit precedent holds that parties and party representatives are allowed to

attend depositions unless it is a tactic to intimidate a deponent, elicit confidential information that

could be harmful in the hands of a competitor, or help a group of witnesses get their stories down.

See, e.g., Longoria v. Cnty. of Dallas, No. 3:14-CV-3111-L, 2016 WL 728559, at *3 (N.D. Tex.

Feb. 24, 2016) (quoting Radian Asset Assur., Inc. v. Coll. of the Christian Bros. of N.M., No. CIV

09-0885 JB DJS, 2010 WL 5476782, at *6 (D.N.M. Nov. 24, 2010)).              While Plaintiffs urge the

Court to finds that the party-representatives’ presence was only meant to intimidate Ross, the Court

finds that there is no evidence, other than Plaintiffs’ bald allegations, to support that assertion.   In

fact, the Court finds that Defendants’ willingness to excuse two of the party-representatives—who

were entitled to be there—from both days of depositions in order to avoid further delay is evidence
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that there was no bad faith on their part.          (See Mot. at 4). Accordingly, the Court finds that the

presence of parties and party-representatives was not a valid reason to delay.

          Finally, the Court is wholly unpersuaded by Plaintiffs’ argument that a conference room at

a hotel is less neutral than opposing counsels’ office. (Resp. at 14-15).           Therefore, the location of

the deposition was not a valid reason for delay.            Accordingly, the Court finds that Phillips and

Ross improperly impeded and delayed the beginning of Ross’ deposition, costing Defendants over

an hour of scheduled deposition time.

              2.     Frequent Breaks During Ross’ Deposition

          Next, Defendants argue that Plaintiffs improperly took numerous breaks resulting in Ross’

deposition only being on the record for three-hours and twenty-five-minutes.                   (Mot. at 4—5).

Without the benefit of the full Ross’ deposition transcript, there does appear to be an inordinate

number of breaks taken in a short period of time.            In their response, Plaintiffs assert that Phillips

informed Defendants’ counsel that Ross had a broken rib and, consequently, would need to break

every thirty-minutes.         (Resp. at 17-18).    Plaintiffs claim that Defendants’ counsel agreed to the

breaks.   (/d.)

          A review of the deposition transcript before the Court reveals that the conversation

Plaintiffs refer to occurred at roughly 3:00 p.m., five-hours after the deposition was scheduled to

begin.    (See Plaintiffs’ Appendix in Support of their Response (“Pls.’ App.”) at 7).             The record

also reflects that Defendants’ counsel responded to the news by stating, “I want to complete the

deposition.        That’s all I’m saying.   We can take a break.     I’ll respect his medical condition.    But

we’re going to finish the deposition.”            (Pls.’ App. at 7-8).   Therefore, the Court finds that the

repeated breaks were not independently improper in light of Ross’ medical condition.                 However,

as discussed infra, Phillips and Ross should have accommodated Defendants for the lost deposition
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time.? While the Court concludes that the breaks in Ross’ deposition were not improper, the Court

notes that Phillips often forced the breaks at inappropriate times and in a manner unbecoming an

officer of the court.'°

              3.    Phillips’ and Ross’ Conduct During Ross’ Deposition

          Next, Defendants argue that Phillips repeatedly interfered with questioning by lodging

numerous frivolous objections and inappropriately instructing Ross not to answer questions, (Mot.

at 5).    Defendants also argue that Ross was unreasonably evasive and refused to answer basic

questions.    (Mot. at 6). In their response, Plaintiffs dispute the number of objections that Phillips

made and argue that even if Defendants’ number is true, the number of objections Phillips lodged

is not so great that it is sanctionable.           (Resp. at 16-17).        However, Plaintiffs do not address

Defendants’        argument that Ross was unnecessarily giving evasive answers. "Wee                          generally

Resp.).

          Having reviewed the transcript of the parts of Ross’ deposition that the parties supplied the

Court, the Court finds that Phillips’ objections and behavior during Ross’ depositions went well

beyond what is considered acceptable.              While the parties disagree about how many objections

Phillips actually lodged during Ross’ deposition, it is clear that a large majority of those objections


           ° The parties both take issue with how the other side handled the lunch break. Defendants take issue with the
fact that, despite the delays already incurred, Plaintiffs took a seventy-two-minute lunch. (Mot. at 6 .6). Plaintiffs
claim that Defendants’ counsel “yelled at [Phillips] to only take a half hour for lunch” and take issue with the fact that
“( Defendants] had catered meals delivered for themselves,” (Resp. at 9, 17).
           The Court first notes that, despite Plaintiffs’ repeated attempts to besmirch Defendants for having lunch
delivered, it is common practice to do so out of respect for the opposing party’s time. Additionally, the Court would
note that it is very easy to have lunch delivered and Plaintiffs could have done so. Therefore, Plaintiffs’ claim that
opposing counsel acted inappropriately with regard to the lunch break if frivolous. While the Court ultimately finds
that the seventy-two-minute lunch is not alone sanctionable, it goes to show the overall lack of respect Phillips and
Ross had for the opposing party’s time.

          '© (See, e.g., Defendants’ Appendix in Support of Their Motion (“Defs.’ App.”) at 18).

          "| While it is unclear to the Court whether it was a tactic for both Ross and Vargas to be evasive in their
answers to seemingly basic questions, the Court will give them the benefit of the doubt on this occasion. However,
the Court will be aware of these instances when reviewing the transcripts of the completed depositions, And the Court
hereby puts all parties on notice that such conduct will not be tolerated in the future.

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were baseless, showed      a lack of civility, and were meant to impede and frustrate Defendants’

efforts to depose Ross.    The following is a few of the shorter examples, as it would be needlessly

cumulative and a burdensome task for the Court to lay out all of Phillips’ frivolous and disruptive

objections:

        Q: To the best of your recollection, is that the Transition Agreement that you signed


        [Phillips]: Objection; hearsay.

        Q: -- on March 1, 2018?

        [Phillips]: Objection; hearsay.

        (Defs.”’ App. at 15).



        Q. Okay. If you would look at the second page, which has a block letter A on the
        top of it, if you flip it over, do you see that page? And at the bottom there is a
        number, says Ross/Vargas 000460. Do you see it?

        A. Uh-huh.

        Q. Okay. And there is typed text and then there are some markings with some
        arrows and handwriting. Do you see that?

        A. Yes,

        Q. Is that your handwriting?

        A, I don’t know.

        Q. Does it appear to you to be your handwriting?

        [Phillips]: Objection; leading.

        A, It appears pretty good to be my handwriting.

        Q. Okay. Is it your testimony that it's not your handwriting?

        A. No, it’s not my testimony one way or the other.

        [Phillips]: Objection; leading, speculation

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      (Defs.’ App. at 17).



      Q. Okay. And just to get your recollection or understanding, is it your
      understanding that under Article VII a member of APFA can file charges against
      another member of APFA?

      [Phillips]: I mean, objection. You know, he’s not here to testify about APFA
      Constitution.

      (Defs.’ App. at 20).



      Q. Does that [redacted statement from a medical record] accurately reflect your
         self understanding?

      [Phillips]: Objection; obscure, form. . . Medically privileged; objection. Bob, you
      don’t have to answer that.

      [Bartos]: Are you directing him not to answer?

      Phillips]: I’m directing him not to answer.

       Bartos]: So just to be clear, you’ve submitted about a hundred pages of medical
      records. And your position is I’m not allowed to ask questions about them?

      Phillips]: You can compel it if you want it.

      . .. (discussion occurs between counsel whether Phillips will allow her client to
      answer questions regarding documents she filed with the Court; culminating in
      Defendants’ counsel re-asking the previous question)

      A. Only -- only if it’s added to the --

      [Phillips]: That’s -- we can do nine minutes of objection; privileged. | am directing
      you not to answer that.

      [Reporter]: I did not get his answer.

      [Bartos]: That was the intention.

      [Reporter]: Will you please let him finish so J can -- I can only do one at a time.

      [Phillips]: I’m directing you not to answer that.

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         (Defs.’ App. at 27-28).

         In addition to the above, Phillips lodged so many baseless objections that, despite the

Court’s best efforts to give her the benefit of the doubt, they cannot be described as anything other

than disruptive and inappropriate.          (See Defs.’ App. at 9, 12, 15, 17, 18, 19, and 25-26 (baseless

hearsay objections); Defs.’ App. at 10-11, 20, and 24 (baseless objections to subject matter and

relevance); Defs.’ App. at 14, 15, 16, 17, 20, 21, and 24 (improper “leading” objections); Defs.’

App. at 26-28 (improper “medical privilege” objections as that is not a federal privilege and

Plaintiffs put those documents at issue by attaching them to the now unfiled summary judgment

motion).!*    While the sheer number of baseless objections is appalling, Phillips often made those

objections worse by interrupting either Ross or Defendants’ counsel to lodge them.                       Furthermore,

the record reflects that Phillips showed             a blatant lack of civility towards opposing counsel

throughout the entirety of Ross’ deposition. Accordingly, the Court finds that Phillips’ objections

and conduct during Ross’ deposition inappropriately impeded, delayed, and frustrated Defendants’

counsel’s efforts to depose Ross.

              4.   Not Allowing the Completion of Ross’ Deposition

         Next, Defendants argue that Phillips unjustifiably did not allow the completion of Ross’

deposition. (Mot. at 6, 10-11). Specifically, Defendants assert that Phillips refused to make Ross

available to complete his deposition despite the fact that, as a result of Phillips conduct, they were

only on the record for three-hours and twenty-five-minutes.!?                 (/d.) In response, Plaintiffs simply

accuse Defendants’ counsel of bad faith and, argue that Defendants “have only themselves to



         '2 The Court notes that Phillips also lodged a plethora of “form” objections, a Texas state court procedure
which does not comply with the federal standards for deposition objections.

          '3 Federal Rule of Civil Procedure 30 entitles parties to seven hours per deposition.   Thus, Defendants were
able to obtain just under halfof the time that they were entitled to for Ross’ deposition.

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blame” for the time-delays.    (See generally Resp.).    Before addressing the parties’ arguments, the

Court finds that it is appropriate to lay out the relevant section of the deposition below:

       Q. Okay. Has anyone else agreed to pay your legal fees in this case?

       [Phillips]: Objection; privileged. We already -- we’ve already ...

       A. I guess I don’t know how to answer that because...

       Q. Do you know? Has anybody else agreed to pay your legal fees in this case?

       A. No. No.

       Q. Have you discussed with any labor organization and they are paying your legal
       fees in this case?

       [Phillips]: Objection. This is ridiculous.

       A. No.

       Q. No. Have you discussed with any representatives of other labor organizations —

       [Phillips]: We’re done.

       Q. -- they’re paying your legal fees in this case?

       [Phillips]: We’re done. It’s 5:00. We’re done. Let’s go.

       A, There is no union -- other union, if that’s what you’re saying, labor organization
       agreeing to pay my legal fees.

       [Phillips]: Let’s go.

       [Bartos]: Okay. Just for the record, we have not -- we have barely touched four
       hours of time. We will resume tomorrow morning. And I suggest we start at 9:00
       so we can get Mr. Vargas done.

       [Phillips]: Yeah, you have me at 10:00. That’s what you scheduled and noticed for.

       ([Bartos]: We had you at 10:00 a.m. this morning, and we didn’t start until 11:00.
       We'd be done by now.

       [Phillips]: Well, you probably shouldn’t sabotage people. I highly recommend --

       [Bartos]: We will be here at 9:00 ready to go.



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       [Phillips]: You need to re-notice and give five days’ notice.

       [Bartos]: We'll be here at 10:00, and we expect Mr. Ross to be here to complete his
       deposition because he’s indicated on the record --

       {Phillips}: Tomorrow?

       [Bartos]: Tomorrow.

       [Phillips]: You have Vargas tomorrow.

        Bartos]: We’re continuing until we’re done.

        Phillips]: What are you planning on doing with Mr. Vargas?

        Bartos]: We’ll resume Mr. Vargas -- we’ll start Mr. Vargas when Mr. Ross is done.

        Phillips]: Mr. Vargas has -- has -- he has work.   So you want to -- Mr. Ross has
       his work schedule; so that’s not going to work.

        Bartos]: We’Il be here and expect to finish with Mr. Ross tomorrow at 10:00 a.m.
       Yeah, we can go off the record.

        The Videographer]: We’re off record at 4:56 p.m.

       (Defs.’ App. at 28-29; Pls.’ App. at 9-11) (emphasis added).

       Turning now to the parties’ arguments, the record is clear that, not only did Phillips

improperly make Ross unavailable for the completion of his deposition, but she lied on the record

to opposing counsel.   As discussed above, the time on the record was impeded by breaks every

thirty minutes, Plaintiffs seventy-two-minute lunch, and Plaintiffs’ improper delay in beginning

the deposition, not to mention the numerous baseless objections lodged.    As a result, Defendants

were not able to get half of the on-the-record-time they were entitled to.      When Defendants’

requested that Ross be made available the next day, Phillips not only denied the request, but lied,

on the record, to opposing counsel stating: “Mr. Ross has his work schedule; so that’s not going to
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work.”      (Defs.’ App. at 29; Pls.’ App. at 10). However, as Defendants point out in their motion,

“Ross was not scheduled to work the next day.”!4 (Resp. at 9-11; Mot. at 6).

         Plaintiffs do not deny this assertion but, rather, spend                   multiple pages arguing that

Defendants’        knowledge    of Ross’     schedule violates a contractual           agreement     with American

Airlines and alleging that this is a prime example of Defendants’ abusive litigation tactics. (Resp.

at 9-11).     Even if Plaintiffs’ argument is true regarding the contract, it is irrelevant because,

roughly two hours earlier, Ross stated on the record: “My schedule -- they can look it up on APFA.

My schedule will corroborate that I was out.”               (Pls.’ App. at 8).    Ross cannot tell Defendants to

look up his schedule to corroborate his injury and then turn around and argue that Defendants’

knowledge of his schedule was improper.                 Therefore, the Court is unpersuaded by Plaintiffs’

arguments and finds that, in light of all of the delays that occurred, Phillips should have ensured

Ross’ availability to complete his deposition. Accordingly, the Court concludes that Phillips’ lying

about Ross’ availability and her failure to make him available for the completion of his deposition

was an action that unjustifiably impeded, delayed, and frustrated Defendants’                       attempts to take

Ross’ deposition.

              5.    Phillips’ Conduct During Vargas’ Deposition

         Next, Defendants argue that Phillips escalated her combative and disruptive conduct at

Vargas’ deposition.        (Mot. at 6).     In response, Plaintiffs dispute the number of objections that

Phillips made and argue that, even if Defendants’ number is true, the number of objections Phillips

lodged is not so great that it is sanctionable.             (Resp. at 16-17).     As discussed above, the Court

found that Phillips’ objections and conduct, during Ross’ deposition, were inappropriate.                      Having

reviewed     the deposition     transcript and      video    of Vargas’     deposition, the Court        agrees    with



         " Plaintiffs allege that, at the deposition, Defendants’ counsel waited until after they went off the record to
confront Phillips about Ross’ work schedule.

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Defendants that Phillips’ egregious behavior escalated at Vargas’ deposition.                          (See Pls.’ App. at

32-40; see also video recording of Vargas’ Deposition (ECFs 207, 214)). The record shows that

during Vargas’ deposition: (1) Phillips consistently interrupted opposing counsel’s questions and

Vargas’ answers to lodge baseless objections; (2) took numerous breaks;!> and (3) acted in an

appalling manner towards opposing counsel.                      (/d.)    In fact, just prior to ending the deposition,

Phillips, as Plaintiffs state in their response, “scolded” Defendants’ counsel.!®                       (See Resp. at 16;

Defs.’ App. at 38; Pls.’ App. at 18). Phillips’ “scold[ing]” of Defendants’ counsel coincided with

multiple extended           outbursts that demonstrate           Phillips’    lack of civility and her fundamental

misunderstanding of how depositions are conducted.                         (Defs.’ App. at 38-40; Pls.’ App. at 18).

Accordingly,        the     Court   finds   that    Phillips’    egregious     conduct    during    Vargas’     deposition

unjustifiably impeded, delayed, and frustrated Defendants’ counsel’s efforts to take the deposition.

              6.    The Ending of Vargas’ Deposition

         Finally,         Defendants    claim      that    Phillips     inappropriately    ended    Vargas’     deposition

prematurely.        (Mot. at 7). In response, Plaintiffs argue that Defendants only have themselves to

blame as Defendants’ counsel “sought to misconstrue the narrative in an abusive way taking

advantage that English was [Vargas’| second language.                        The deposition was sought to humiliate

and abuse [Vargas].”           (Resp. at 11-14),          Additionally, Plaintiffs claim that Defendants’ counsel

changed the rules between Ross’ deposition and Vargas’ deposition, as Defendants offered to




         ‘5 In contrast with Ross’ medical reason for frequent breaks, the Court is unaware of, and there is no argument
to support, any reason for the frequent breaks in Vargas’ deposition.          In fact, the record shows that between   10:03
a.m., when the deposition began, and 11:47 a.m., when Phillips ended the deposition, Phillips forced three breaks (not
including the break the parties took to call the Court).

         ‘6 In their response, Plaintiffs state: “The Court should note Defendants’ Counsel’s response was silence,        He
did not deny his misconduct. Nor did he respond to Plaintiffs’ Counsel’s scolding of him. He simply moved on to the
next question.” (Resp. at 16). While Plaintiffs point this out as an attempt to claim silence by admission, having
reviewed the transcript and watched the video of the incident, the Court finds that the fact that Defendants’ counsel
did not respond to Phillips and “simply moved on to the next question,” was nothing less than an extraordinary exercise
of restraint and maturity.

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allow Ross to correct an answer that he gave but then refused to allow Vargas to correct his

testimony.     (/d.)   Before turning to the parties’ arguments, the Court will briefly summarize the

dispute that led Phillips to end Vargas’ deposition.

           Shortly after 11:30 a.m., Defendants’ counsel asked Vargas three questions regarding a

“APFA Installment Promissory Note.” (Defs.’ App. at 36). Those questions and answers were as

follows:

           Q. Mr. Vargas, you have in front of you a document marked as Exhibit 5. It says
           across the top, Association of Professional Flight Attendants, APFA Installment
           Promissory Note. And then at the bottom there is a signature. And my first question
           is, is that your signature?

           A. What was your question?

           Q. Is that your signature at the bottom?

           A. It looks like my signature.

           Q. Did you sign the APFA Installment Promissory Note?

           A. I signed an -- I signed one promissory note, yes.

           Q. And did you make payments of $172.62 every month?

           A. Yes.

(Defs.’ App. at 36).

After Defendants’ counsel had moved onto another line of questioning, Phillips asked to take a

break so that she could have her client correct the record on his testimony.           (/d.)   Defendants’

counsel did not object to the break and, when the parties came back on the record at 11:35, he

asked Vargas, “[d]o you want to change any of your answers that you’ve given so far?”               (Defs.’

App. at 37).     Vargas answered, “I want to go back to the promissory note subject and say why I

signed it.” (Id.) (emphasis added).         In response, Defendants’ counsel correctly stated that he had

not asked him that question and Phillips would be allowed to ask him that question once he had


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finished.     (d.)        For the next twelve minutes,          Phillips proceeded         to rudely   interrupt both

Defendants’ counsel and her own client, advocating that questioning should not continue until

Vargas was allowed to “clarify his testimony.”                 (Defs.’ App. at 37-40).         Throughout Phillips’

interruptions,       yelling,   and   “scolding,”   Defendants’     counsel       calmly    asked   Phillips   to     stop

interrupting and continued to reiterate his correct position.              (Ud)    Despite Defendants’ counsel’s

composure, Phillips continuously became louder, more animated, and turned to personal attacks

against Defendants’ counsel.           (/d.; see also video recording of Vargas’ Deposition at 50:15—end).

Ultimately, after twelve minutes of some of the most egregious deposition conduct the undersigned

has ever seen, Phillips ended Vargas’ deposition.              (Defs.’ App. at 40; Pls.’ App. at 26).

           Turning now to the parties’ arguments, as a preliminary matter, the Court is wholly

unconvinced by Plaintiffs’ claim that Defendants’ counsel took advantage of and abused Vargas

because English is not his first language.          Having watched the entirety of Vargas’ deposition, there

is no evidence that he had any issues understanding the questions, nor responding to them.'7

Additionally, despite Plaintiffs’ claims, Defendants’ counsel’s questioning was not rapid fire nor

abusive.     Similarly, the Court is unpersuaded by Plaintiffs’ argument that Vargas was not given

the same courtesy that was offered to Ross.             Defendants’ counsel did not object to a brief break

for Vargas and Phillips to discuss the issue, and, once back on the record, began his questioning

by asking Vargas if he wanted to correct his testimony.              It was only after Vargas indicated that he

wanted to discuss something that had not been asked                 that Defendants’ counsel declined               to hear

him out. The Court finds that Defendants’ counsel was not wrong to deny Vargas the opportunity

to discuss something that had not been asked and was correct in stating that Phillips would be able




          '7 The Court notes that, as pointed out by Phillips during one of her outbursts, “[Vargas] is employed at
American Airlines as a translator.” (Defs.’ App. at 38). Thus, the very nature of Vargas’ job is to quickly and
correctly translate English to Spanish and vice versa.

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to ask that question when it was her turn. Therefore, the Court concludes that Phillips’ inexcusably

ended Vargas’ deposition after only fifty-eight-minutes on the record.      (Defs.’ App. at 40-41).

Accordingly, it is axiomatic that Phillips’ conduct delayed, impeded, and frustrated Defendants’

counsel’s attempts to depose Vargas.

                                       Il.     SANCTIONS

        As discussed above, Defendants ask the Court to impose the following sanctions on

Plaintiffs: (1) bar the submission of Declarations or Affidavits from Ross and Vargas, as well as

reliance on previously-filed documents, in connection with any motion for summary judgment; (2)

order the depositions to be completed; and (3) award Defendants the costs and fees incurred in

connection with the two depositions and for the preparation and filing of this motion.     (Mot. at 2,

12).

        As set forth above, FRCP 30(d)(2) provides that “[t]he court may impose an appropriate

sanction— including the reasonable expenses and attorney’s fees incurred by any party—on a

person who impedes, delays, or frustrates the fair examination of the deponent.”      Fed. R. Civ. P.

30(d)(2).   In addition, FRCP 37 “empowers the district court to compel compliance with Federal

discovery procedures through a broad choice of remedies and penalties.” Griffin, 564 F.2d at 1172.

Specifically, FRCP 37(b)(2)(A) allows a range of sanctions when a party fails to obey a court order

to provide or permit discovery, including “directing that the matters embraced in the order or other

designated facts be taken as established for purposes of the action, as the prevailing party claims.”

FRCP    37(b)(2)(A)@).   In addition, the court, pursuant to FRCP     37(b)(2)(C), must “order the

disobedient party, the attorney advising that party, or both to pay the reasonable expenses,

including attorney’s fees, caused by the failure, unless the failure was substantially justified or

other circumstances made an award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C). The sanction




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imposed must be the least severe sanction adequate to achieve the purpose for which it is imposed.

Howard, 2005 WL 2600442, at *9.

         The Court finds, as discussed supra, that Phillips’ conduct impeded, delayed, and frustrated

the fair examination of a deponent without justification. Additionally, because the Court ordered

that the depositions occur on February 1-2, 2024, the Court finds that Phillips’ actions resulted in

Plaintiffs failing to comply with a court order.              Consequently, the Court GRANTS                 Defendants’

motion and finds that the following are the least severe sanctions adequate to achieve the purpose

for which they are imposed:

         1.   Ross and Vargas shall be made available for the completion of their respective
              depositions on or before March 15, 2024, the depositions shall be in person and at a
              location, within this district, to be agreed upon by the parties, Defendants are entitled
              to up to three-hours and thirty-five minutes to complete Ross’ deposition and six-hours
              and two-minutes to complete Vargas’ deposition, breaks at both depositions will be
              limited to one (1) every two hours, unless otherwise agreed upon by both parties;

         2.   Phillips!* shall pay Defendants’ reasonable costs and attorney’s fees for the February
              1-2, 2024 depositions, filing of this motion, and depositions ordered herein (“Court
              Ordered Depositions”);!”

         3.   Defendants shall file with the Court an itemized and detailed list for their reasonable
              costs and attorney’s fees, no later than seven days after the completion of the Court
              Ordered Depositions. Plaintiffs shall have seven days to file any objections to the
              reasonableness of those costs and attorney’s fees submitted by Defendants; and




         '8 Because the Court finds that Phillips is at fault and not her clients, Phillips is personally responsible for the
following costs and attorney’s fees. The costs and attorney’s fees shall not be charged to her clients.

          '9 Costs are to include: (1) the cost of the reporter for the February 1-2, 2024 depositions; (2) the cost of the
reporter for the Court Ordered Depositions; (3) the cost of the videographer for the February 1-2, 2024 depositions,
(4) the cost of the videographer for the Court Ordered Depositions; (5) the cost of the deposition location for the
February 1-2, 2024 depositions; (6) the cost of the deposition location for the Court Ordered Depositions; and (7)
reasonable travel expenses incurred by Defendants’ counsel for the February 1-2, 2024 depositions. Costs shail not
include: (1) other ancillary costs such as an expedited transcript; (2) other non-ordinary deposition costs; or (3) travel
expenses for the Court Ordered Depositions.

         Attorney’s fees are to include: (1) reasonable fees incurred in the filing of Defendants’ motion [doc, 205];
(2) reasonable fees incurred by all Defendants’ counsel present at the February 1-2, 2024 deposition; and (3)
reasonable fees incurred by one deposing attorney for Defendants at the Court Ordered Depositions.


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         4.   Plaintiffs will mail to the Court a USB containing the Court Ordered Depositions, no
              later than thirty days after their completion, in order for the Court to review the conduct
              of Phillips and her clients.?°

         IT IS SO ORDERED

                   SIGNED March 1, 2024.



                                                                             7 CURETON
                                                                        ED/STATES MAGISTRATE JUDGE




         2 The Court is not granting Defendants’ motion to strike documents at this time. However, the Court reserves
the right to revisit that request, as well as impose additional sanctions, should the troublesome conduct continue.

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